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                       DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: Raoul V. Normandia, Jr.

Has defendant had initial appearance in this      case? flVes        ENo
        MJ   2o-2t3                CR


                                    II.        CUSTODIAL STATUS

If defendant had initial   appearance, please check one of the following:


  I     Continue Conditions of Release

  f     Continue Detention

  !     f.-porary   Detention, a detention hearing has been scheduled for


                                        III.    ARRAIGNMENT

  [-l   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


  !     Su-..rons to be Issued for Appearance on

              Defendant's Address:

  Yt"tt"rto     Defense Counsel for Appearance on August l3,2o2o

              Defense Attorney's Name and address: Bob Goldsmith




The estimated trial time    is   4-5   days.
                                                                              (Revised March 2018)
               Case 2:20-cr-00110-RSL Document 37-1 Filed 08/06/20 Page 2 of 3




                            DEFENDANT STATUS SHEET
                                          (One for each defendant)



                                              I.     CASE STATUS

Name of Defendant:         Chase Friedrich


Has defendant had initial appearance in this          case? f V.t       EN"
          MJ   2o-1e3                  CR


                                       II.         CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:
                                                       t
     f    Continue Conditions of     Release
     I    Continue Detention

     I    fr-porary     Detention, a detention hearing has been scheduled for


                                             III.   ARRAIGNMENT

     []   V/arrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)

     f]   Su-mons to be Issued for Appearance on

                   Defendant's Address:

     E    rctt..   to Defense Counsel for Appearance on August 13,2o2o

                   Defense Attorney's Name and addresSr Jennifer Wellman (FPD)




The estimated trial time      is   4-5   days.
                                                                                 (Revised March 2018)
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                           DEFENDANT STATUS SHEET
                                          (One for each defendant)


                                            I.     CASE STATUS

Name of Defendant: Ivan Armenta

Has defendant had initial appearance in this        case? [ V.t        ENo
          MJ                         CR


                                     II.         CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     f]   Continue Detention

     I    f.-porary    Detention, a detention hearing has been scheduled for


                                           III.   ARRAIGNMENT

     fZ   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     !    Summons to be Issued for Appearance on

                   Defendant's Address:

     E    rctt..   to Defense Counsel for Appearanoe on

                   Defense Attorney's Name and address:




The estimatedtrial time      is 4-5 days.
                                                                                (Revised March 2018)
